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UNITED STATES DISTRICT COURT                        EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA,                      '
                                               '
                      Plaintiff,               '
                                               '
v.                                             '           NO. 1:17-CR-27-1-MAC
                                               '
GERARDO FEDERICO RODRIGUEZ,                    '
                                               '
                      Defendant.               '

        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed

by Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and

Recommendation on Guilty Plea Before the United States Magistrate Judge. The magistrate

judge recommended that the court accept the Defendant’s guilty plea.            He further

recommended that the court adjudge the Defendant guilty on Count One of the Indictment filed

against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the

plea agreement until after review of the presentence report.

       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Gerardo Federico Rodriguez,
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is adjudged guilty as to Count One of the Indictment charging a violation of 21 U.S.C. §

841(a)(1) - .Possession with the Intent to Distribute or Dispense (Methamphetamine).
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 3rd day of August, 2017.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
